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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MISSOURI

                                             )
  STATE OF MISSOURI, et al.
                                             )
       Plaintiffs,                           )
                                             )
  v.                                         )
                                             )
  UNITED STATES DEPARTMENT OF                )
  EDUCATION, et al.                          )
         Defendants.                         )
                                             )
                                             )
                                             ) Civil Action No. 4:24-cv-01316-MTS




                               ENTRY OF APPEARANCE
        Nicholas J. Bronni, attorney with the Office of the Arkansas Attorney General, hereby
enters his appearance in the case as counsel for Plaintiff State of Arkansas.

                                          Respectfully submitted,
                                          TIM GRIFFIN
                                          Attorney General of Arkansas

                                          /s/ Nicholas J. Bronni
                                          Nicholas J. Bronni
                                          Solicitor General

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